          Case 17-34525-ABA                Doc 3    Filed 12/05/17 Entered 12/05/17 14:42:34                       Desc Main
                                                    Document     Page 1 of 10
STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

  3       Valuation of Security      0     Assumption of Executory Contract or Unexpired Lease          0      Lien Avoidance



                                                                                                        Last revised: December 1, 2017

                                           UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF NEW JERSEY
In Re:                                                                             Case No.:                17-34525
                                                                                                      ____________________
Jayfair P Langford and Rachel A Langford
                                                                                   Judge:             ____________________

                              Debtor(s)

                                                 Chapter 13 Plan and Motions

          ☐ Original                           ☐ Modified/Notice Required                             Date:         12/5/2017
                                                                                                               _________________

          ☐ Motions Included                   ☐ Modified/No Notice Required



                                           THE DEBTOR HAS FILED FOR RELIEF UNDER
                                            CHAPTER 13 OF THE BANKRUPTCY CODE

                                                 YOUR RIGHTS MAY BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. Your rights may be affected by this
plan. Your claim may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may
be granted without further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may
confirm this plan, if there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions
to avoid or modify a lien, the lien avoidance or modification may take place solely within the chapter 13 confirmation process. The plan
confirmation order alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or
modify a lien based on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said
treatment must file a timely objection and appear at the confirmation hearing to prosecute same.

THIS PLAN:

☐ DOES ☐ DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH
IN PART 10.

☐ DOES ☐ DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH
MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN
PART 7, IF ANY.

☐ DOES ☐ DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST.
SEE MOTIONS SET FORTH IN PART 7, IF ANY.

                                 TT
Initial Debtor(s)’ Attorney: ___________                             JL
                                               Initial Debtor: ______________                               RL
                                                                                   Initial Co-Debtor: _______________
     Case 17-34525-ABA             Doc 3    Filed 12/05/17 Entered 12/05/17 14:42:34             Desc Main
                                            Document     Page 2 of 10

Part 1:    Payment and Length of Plan

                                   1,122.00
     a. The debtor shall pay $ _______________          month
                                               per _______________ to the Chapter 13 Trustee, starting on
           January 1, 2018
     _________________________                          60
                               for approximately _______________ months.

     b. The debtor shall make plan payments to the Trustee from the following sources:

            ☐    Future earnings

            ☐    Other sources of funding (describe source, amount and date when funds are available):




      c. Use of real property to satisfy plan obligations:

          ☐ Sale of real property
             Description:
             Proposed date for completion: ____________________

          ☐ Refinance of real property:
             Description:
             Proposed date for completion: ____________________

          ☐ Loan modification with respect to mortgage encumbering property:
             Description:
             Proposed date for completion: ____________________

      d. ☐ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

      e. ☐ Other information that may be important relating to the payment and length of plan:
           Case 17-34525-ABA           Doc 3     Filed 12/05/17 Entered 12/05/17 14:42:34                  Desc Main
                                                 Document     Page 3 of 10

Part 2:       Adequate Protection ☐ NONE

      a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to ______________________________ (creditor).
      b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: ______________________________ (creditor).

Part 3:       Priority Claims (Including Administrative Expenses)

 a.         All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                     Type of Priority                          Amount to be Paid

CHAPTER 13 STANDING                                    ADMINISTRATIVE                    AS ALLOWED BY STATUTE
TRUSTEE

ATTORNEY FEE BALANCE                                   ADMINISTRATIVE                    BALANCE DUE: $

DOMESTIC SUPPORT
OBLIGATION

IRS                                                             Tax                      $17,000.00




      b.     Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
             Check one:
             ☐ None
             ☐ The allowed priority claims listed below are based on a domestic support obligation that has been assigned
             to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 11
             U.S.C.1322(a)(4):

Creditor                                     Type of Priority                          Claim Amount   Amount to be Paid

                                             Domestic Support Obligations
                                             assigned or owed to a
                                             governmental unit and paid less
                                             than full amount.
     Case 17-34525-ABA            Doc 3      Filed 12/05/17 Entered 12/05/17 14:42:34                   Desc Main
                                             Document     Page 4 of 10

Part 4:     Secured Claims

      a. Curing Default and Maintaining Payments on Principal Residence: ☐ NONE
      The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and
the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:

Creditor             Collateral or         Arrearage            Interest Rate on     Amount to be          Regular Monthly
                     Type of Debt                               Arrearage            Paid to Creditor      Payment
                                                                                     (In Plan)             (Outside Plan)




b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: ☐ NONE
The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the
debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

 Creditor                  Collateral or          Arrearage           Interest Rate on     Amount to be          Regular
                           Type of Debt                               Arrearage            Paid to Creditor      Monthly
                                                                                           (In Plan)             Payment
                                                                                                                 (Outside
                                                                                                                 Plan)




c. Secured claims excluded from 11 U.S.C. 506: ☐ NONE
The following claims were either incurred within 910 days before the petition date and are secured by a purchase
money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of
the petition date and secured by a purchase money security interest in any other thing of value:


    Name of Creditor                 Collateral          Interest       Amount of        Total to be Paid through the Plan
                                                           Rate          Claim             Including Interest Calculation
     Case 17-34525-ABA            Doc 3    Filed 12/05/17 Entered 12/05/17 14:42:34                  Desc Main
                                           Document     Page 5 of 10

      d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments ☐ NONE
       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                              NOTE: A modification under this Section ALSO REQUIRES
                            the appropriate motion to be filed under Section 7 of the Plan.


Creditor            Collateral   Scheduled        Total         Superior Liens      Value of         Annual     Total
                                 Debt             Collateral                        Creditor         Interest   Amount
                                                  Value                             Interest in      Rate       to be
                                                                                    Collateral                  Paid




      2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.




     e. Surrender ☐ NONE
      Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the
stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following collateral:

Creditor                                     Collateral to be Surrendered     Value of Surrendered     Remaining
                                                                              Collateral               Unsecured Debt

Rushmore Mortgage                            721 Irving Ave, Bridgeton, NJ           $75,000




      f. Secured Claims Unaffected by the Plan ☐ NONE
           The following secured claims are unaffected by the Plan:
      Auto Bahn Motorworks-'04 Infiniti I35 (2 more pymts)
     Case 17-34525-ABA           Doc 3     Filed 12/05/17 Entered 12/05/17 14:42:34                 Desc Main
                                           Document     Page 6 of 10

g. Secured Claims to be Paid in Full Through the Plan: ☐ NONE

Creditor                                    Collateral                                    Total Amount to be
                                                                                          Paid Through the Plan

              SLS Servicing                        2875 Rome Rd, Vineland, NJ                      $41,000.00




Part 5:    Unsecured Claims ☐ NONE

      a. Not separately classified allowed non-priority unsecured claims shall be paid:
           ☐ Not less than $ _______________ to be distributed pro rata
           ☐ Not less than _______________ percent
           ☐ Pro Rata distribution from any remaining funds

     b. Separately classified unsecured claims shall be treated as follows:

Creditor                           Basis for Separate Classification    Treatment                    Amount to be Paid




Part 6:    Executory Contracts and Unexpired Leases ☐ NONE

    (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real
property leases in this Plan.)

       All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except
the following, which are assumed:

Creditor                 Arrears to be Cured in Nature of Contract or     Treatment by Debtor      Post-Petition Payment
                         Plan                   Lease
      Case 17-34525-ABA              Doc 3   Filed 12/05/17 Entered 12/05/17 14:42:34                  Desc Main
                                             Document     Page 7 of 10

Part 7:    Motions ☐ NONE

NOTE: All plans containing motions must be served on all potentially affected creditors, together with local
form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1.
A Certification of Service, Notice of Chapter 13 Plan Transmittal and valuation must be filed with the Clerk of
Court when the plan and transmittal notice are served.


       a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f). ☐ NONE

       The Debtor moves to avoid the following liens that impair exemptions:


Creditor                Nature of       Type of Lien   Amount of       Value of     Amount of      Sum of All    Amount of
                        Collateral                     Lien            Collateral   Claimed        Other Liens   Lien to be
                                                                                    Exemption      Against the   Avoided
                                                                                                   Property




       b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured. ☐ NONE

      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor          Collateral    Scheduled       Total              Superior Liens    Value of             Total Amount of
                                Debt            Collateral                           Creditor’s           Lien to be
                                                Value                                Interest in          Reclassified
                                                                                     Collateral
     Case 17-34525-ABA            Doc 3    Filed 12/05/17 Entered 12/05/17 14:42:34                Desc Main
                                           Document     Page 8 of 10

     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. ☐ NONE
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:

Creditor          Collateral   Scheduled     Total            Amount to be                   Amount to be
                               Debt          Collateral       Deemed Secured                 Reclassified as Unsecured
                                             Value




Part 8:     Other Plan Provisions

     a. Vesting of Property of the Estate
           ☐ Upon confirmation
           ☐ Upon discharge

      b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

       c. Order of Distribution
       The Standing Trustee shall pay allowed claims in the following order:
           1) Ch. 13 Standing Trustee commissions
              Attorney Fees
           2) ___________________________________________________________
              Priority Claims, Secured Claims
           3) ___________________________________________________________
              Unsecured Claims
           4) ___________________________________________________________

       d. Post-Petition Claims
       The Standing Trustee ☐ is, ☐ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
1305(a) in the amount filed by the post-petition claimant.
     Case 17-34525-ABA            Doc 3     Filed 12/05/17 Entered 12/05/17 14:42:34                   Desc Main
                                            Document     Page 9 of 10

Part 9:    Modification ☐ NONE

      If this Plan modifies a Plan previously filed in this case, complete the information below.
      Date of Plan being modified: _________________________.

Explain below why the plan is being modified:                   Explain below how the plan is being modified:




     Are Schedules I and J being filed simultaneously with this Modified Plan?           ☐ Yes          ☐ No


Part 10:   Non-Standard Provision(s): Signatures Required


      Non-Standard Provisions Requiring Separate Signatures:

      ☐ NONE

      ☐ Explain here:




      Any non-standard provisions placed elsewhere in this plan are void.

     The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Certification.

        I certify under penalty of perjury that the plan contains no non-standard provisions other than those set forth in
this final paragraph.

            7/24/2017
      Date: ______________________________                            /s/Terry Tucker
                                                                      ______________________________
                                                                      Attorney for the Debtor


             7/24/2017
      Date: ______________________________                             /s/Jayfair Langford
                                                                       ______________________________
                                                                       Debtor


            7/24/2017
      Date: ______________________________                             /s/Rachel Langford
                                                                       ______________________________
                                                                       Joint Debtor
     Case 17-34525-ABA             Doc 3     Filed 12/05/17 Entered 12/05/17 14:42:34        Desc Main
                                            Document      Page 10 of 10

Signatures

The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.


      7/24/2017
Date: ______________________________                                /s/Terry Tucker
                                                                    ______________________________
                                                                    Attorney for the Debtor


I certify under penalty of perjury that the above is true.


      7/24/2017
Date: ______________________________                                /s/Jayfair Langford
                                                                    ______________________________
                                                                    Debtor


      7/24/2017
Date: ______________________________                                /s/Rachel Langford
                                                                    ______________________________
                                                                    Joint Debtor
